   Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 1 of 13 PageID #:283



                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

                                            )
 LEONARD SOKOLOW, Individually and on       )   Case No. 1:18-cv-01039
 Behalf of All Others Similarly Situated,   )
                                            )   Judge Robert M. Dow, Jr.
                      Plaintiff,            )
                                            )
        vs.                                 )
                                            )
 LJM FUNDS MANAGEMENT, LTD., TWO            )
 ROADS SHARED TRUST, NORTHERN               )
 LIGHTS DISTRIBUTORS, LLC, ANDREW           )
 ROGERS, MARK GERTSEN, MARK                 )
 GARBIN, NEIL KAUFMAN, ANITA                )
 KRUG, JAMES COLANTINO, ANISH               )
 PARVATANENI, and ANTHONY CAINE,            )
                                            )
                                            )
                      Defendants.
                                            )
                                            )
 STANLEY BENNETT, Individually and on       )   Case No. 1:18-cv-01312
 Behalf of All Others Similarly Situated,   )
                                            )   Judge Andrea R. Wood
                      Plaintiff,            )
                                            )
        vs.                                 )
                                            )
 LJM FUNDS MANAGEMENT, LTD., TWO            )
 ROADS SHARED TRUST, NORTHERN               )
 LIGHTS DISTRIBUTORS, LLC, ANDREW           )
 ROGERS, MARK GERTSEN, MARK                 )
 GARBIN, NEIL KAUFMAN, ANITA                )
 KRUG, JAMES COLANTINO, ANISH               )
 PARVATANENI, and ANTHONY CAINE,            )
                                            )
                                            )
                      Defendants.
                                            )

(Caption continued on the following page)

        MEMORANDUM OF LAW IN SUPPORT OF THE MOTION OF
 LYNDA GODKIN FOR CONSOLIDATION OF THE ACTIONS, APPOINTMENT AS
      LEAD PLAINTIFF AND APPROVAL OF SELECTION OF COUNSEL
   Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 2 of 13 PageID #:284



                                            )
 JAMES NOSEWICZ, Individually and on        )   Case No. 1:18-cv-01589
 Behalf of All Others Similarly Situated,   )
                                            )   Judge Robert W. Gettleman
                        Plaintiff,          )
                                            )
        vs.                                 )
                                            )
 LJM FUNDS MANAGEMENT, LTD., TWO            )
 ROADS SHARED TRUST, NORTHERN               )
 LIGHTS DISTRIBUTORS, LLC, ANDREW           )
 ROGERS, MARK GERTSEN, MARK                 )
 GARBIN, NEIL KAUFMAN, ANITA                )
 KRUG, JAMES COLANTINO, ANISH               )
 PARVATANENI, and ANTHONY CAINE,            )
                                            )
                                            )
                        Defendants.
                                            )



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                                                Counsel for Lynda Godkin and
                                                Proposed Lead Counsel for the Class



Dated: April 10, 2018
       Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 3 of 13 PageID #:285



                                                   TABLE OF CONTENTS

                                                                                                                                          Page

I.       INTRODUCTION ................................................................................................................ 1
II.      STATEMENT OF FACTS ................................................................................................... 2
III.     ARGUMENT ....................................................................................................................... 3
         A.        The Related Actions Should Be Consolidated .......................................................... 3
         B.        Lynda Godkin Should Be Appointed Lead Plaintiff ................................................ 4
                     1. This Motion Is Timely...................................................................................... 4
                     2. Lynda Godkin Believes She Has the Largest Financial Interest of Any Known
                     Movant .................................................................................................................... 5
                     3. Lynda Godkin Satisfies the Requirements of Rule 23 at This Stage ............... 5
         C.        The Court Should Approve Lynda Godkin’s Selection of Counsel ......................... 6
IV.      CONCLUSION .................................................................................................................... 8




                                                                       i
     Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 4 of 13 PageID #:286



                                               TABLE OF AUTHORITIES

                                                                                                                                Page(s)


Cases
Amchem Products v. Windsor,
  521 U.S. 591 (1997) .................................................................................................................... 5
Bang v. Acura Pharmaceuticals, Inc.,
  2011 WL 91099 (N.D. Ill. Jan. 11, 2011) ................................................................................... 6
Bennett v. Sprint Nextel Corp.,
  No. 2:09-cv-02122-EFM-KMH, ECF No. 23 (D. Kan. June 5, 2009) ....................................... 7
In re Barrick Gold Securities Litigation,
   No. 1:13-cv-03851-RPP, ECF No. 26 (S.D.N.Y. Aug. 9, 2013) ................................................ 7
In re Biogen, Inc.,
   Case No. 16-12101-FDS, ECF No. 52 (D. Mass. Feb. 1, 2017)................................................. 7
In re Cendant Corp. Litigation
   264 F.3d 201 (3rd Cir. 2001) .................................................................................................. 5, 6

Statutes
15 U.S.C. § 77z-1(a)(1)................................................................................................................... 4
15 U.S.C. § 77z-1(a)(3)(A)(i) ..................................................................................................... 4, 5
15 U.S.C. § 77z-1(a)(3)(B)(i) ................................................................................................ passim




                                                                     ii
     Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 5 of 13 PageID #:287



I.      INTRODUCTION

        Lynda Godkin respectfully submits this opening brief in support of her motion, pursuant

to the Private Securities Litigation Reform Act of 1995 (the “PSLRA”), for an order: (i)

consolidating the above-captioned actions, 1 (ii) appointing Lynda Godkin as Lead Plaintiff; (iii)

approving Lead Plaintiff’s selection of Motley Rice LLC (“Motley Rice”) as Lead Counsel for the

class and Cohen Milstein Sellers & Toll PLLC (“Cohen Milstein”) as Liaison Counsel for the

class; and (iv) granting such further relief as the Court may deem just and proper.

        The above-captioned actions (the “Related Actions”) arise from alleged violations of the

Securities Act of 1933 (the “Securities Act”) by LJM Funds Management, Ltd. (“LJM”), Two

Roads Shared Trust, Northern Lights Distributors, LLC, and several individual defendants

(collectively, “Defendants”). As alleged in the complaints currently on file, Defendants caused

the price of LJM Preservation and Growth Fund (the “Preservation Fund” or “Fund”) shares traded

on public markets to be artificially inflated by making false and/or misleading statements related

to the Fund, and/or failing to disclose that the Fund was not focused on capital preservation, did

not take appropriate steps to preserve capital in down markets, and left investors exposed to an

unacceptably high risk of catastrophic losses. The complaints further allege that when the fraud

was revealed to the investing public, the market value of the Fund’s shares declined precipitously,

damaging class members.

        The PSLRA directs courts to appoint as lead plaintiff the movant with the largest financial

interest in the relief sought by the class who also meets the requirements of Rule 23 of the Federal



1
  Defendant Two Roads Shared Trust, with the consent of Plaintiff Leonard Sokolow and the other defendants who
have appeared in the above-captioned Sokolow Action, has filed an Agreed Motion to Reassign and Consolidate
Related Cases, pursuant to Local Rule 40.4 and Federal Rule of Civil Procedure 42. Dkt. 27. Subject to and pending
the reassignment of the actions under Local Rule 40.4, Movant also seeks consolidation of the above-captioned
actions.



                                                        1
      Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 6 of 13 PageID #:288



Rules of Civil Procedure (“Rule 23”) at this stage in the litigation, referred to as the “most adequate

plaintiff.” 15 U.S.C. § 77z-1(a)(3)(B)(i). The PSLRA creates a presumption that the most

adequate plaintiff is the investor that timely demonstrates it has “the largest financial interest in

the relief sought by the class” and “otherwise satisf[ies] the requirements of Rule 23 of the Federal

Rules of Civil Procedure.” 15 U.S.C. § 77z-1(a)(3)(B)(iii)(I). Ms. Godkin respectfully submits

that she is the most adequate plaintiff and requests that the Court consolidate the Related Actions,

appoint her lead plaintiff, and otherwise grant her motion. As evidenced by the certification and

loss chart submitted herewith, Ms. Godkin timely submitted a motion showing that she suffered

losses of approximately $188,000 related to her purchases of LJM securities at allegedly inflated

prices between February 28, 2015, and February 7, 2018 (the “Class Period”). See Decl. of Carol

V. Gilden (“Gilden Decl.”), Exs. A, B. Ms. Godkin also is adequate to serve as lead plaintiff,

having reviewed the complaints in the Related Actions and committed herself to protect the

interests of the putative class and oversee counsel.

II.     STATEMENT OF FACTS

        The Related Actions are brought on behalf of all persons who purchased shares of the

Preservation Fund during the Class Period, and seek remedies under Sections 11, 12, and 15 of the

Securities Act, 15 U.S.C. §§ 77k, 77l, and 77o. The Preservation Fund raised hundreds of millions

of dollars from investors with shares offered pursuant to Registration Statements and Prospectuses.

As alleged in the complaints on file in the Related Actions, these offering materials promoted the

Preservation Fund as a low-risk and trend-neutral investment, with factually inaccurate statements

claiming, for example, that the Fund’s “Investment Objective” was to “seek[] capital appreciation

and capital preservation with low correlation to the broader U.S. equity market,” and that the Fund

employed “various risk mitigation techniques . . . in order to generate returns regardless of market

direction.” These and similar statements in the Fund’s Registration Statements and Prospectuses


                                                  2
       Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 7 of 13 PageID #:289



allegedly were materially false and misleading because, rather than seeking capital preservation in

a down market, the Fund actually made massive and unmitigated bets that exposed investors to

excessive risks and catastrophic losses of capital.

          The complaints in the Related Actions allege that the truth began to emerge on Monday,

February 5, 2018, when the S&P fell approximately 4.6%. On that day, the net asset value

(“NAV”) of Fund shares fell from $9.67 to $4.27. The NAV of those shares fell again the next

day to $1.91. Aggravating the massive and unexpected decline, the Fund did not post its NAV on

Monday, February 5, 2018, leaving investors in the dark as to the initial decline and unable to exit

the Fund to mitigate their losses. On Friday, February 9, 2018, LJM informed the Fund’s

shareholders that a spike in market volatility caused the Fund to liquidate its open positions and

suffer massive losses of capital.

          As a result of Defendants’ false and/or misleading statements and omissions and the

precipitous decline in the market value of the Fund’s securities, Ms. Godkin and others who

purchased shares of the Preservation Fund on the open market during the Class Period suffered

losses.

III.      ARGUMENT

          A.     The Related Actions Should Be Consolidated

          The PSLRA provides that “if more than one action on behalf of a class asserting

substantially the same claim or claims arising under this chapter has been filed,” the Court shall

not make the determination of the most adequate plaintiff until “after the decision on the motion

to consolidate is rendered.” 15 U.S.C. § 77z-1(a)(3)(B)(ii). Consolidation is appropriate where

the actions involve common questions of law or fact. See Fed. R. Civ. P. 42(a). Here, the Related

Actions assert virtually identical claims under Sections 11, 12, and 15 of the Securities Act against

the same Defendants, rely on similar facts, and assert identical class periods. Accordingly, the


                                                  3
    Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 8 of 13 PageID #:290



Court should consolidate the Related Actions for all purposes because doing so would preserve

judicial resources and promote efficient prosecution of the litigation.

        B.      Lynda Godkin Should Be Appointed Lead Plaintiff

        The PSLRA establishes the procedure for the appointment of a lead plaintiff in “each

private action arising under [the 1933 Act] that is brought as a plaintiff class action pursuant to the

Federal Rules of Civil Procedure.” 15 U.S.C. § 77z-1(a)(1); see also 15 U.S.C. § 77z-1(a)(3)(B)(i).

First, the pendency of the action must be publicized in a widely circulated national business-

oriented publication or wire service not later than 20 days after filing of the first complaint. 15

U.S.C. § 77z-1(a)(3)(A)(i). This notice must advise class members of: (i) the pendency of the

action; (ii) the claims asserted therein; (iii) the proposed class period; and (iv) the right to move

the court to be appointed as lead plaintiff within 60 days of publication of the notice. Id. Here,

adequate notice was published on February 9, 2018, on Business Wire. See Gilden Decl., Ex. C.

        Next, the PSLRA provides that the court shall adopt a presumption that the most adequate

plaintiff is the investor that:

                (aa) has either filed the complaint or made a motion in response to a
                notice . . .;

                (bb) in the determination of the court, has the largest financial
                interest in the relief sought by the class; and

                (cc) otherwise satisfies the requirements of Rule 23 of the Federal
                Rules of Civil Procedure.

15 U.S.C. § 77z-1(a)(3)(B)(iii)(I). As demonstrated below, Lynda Godkin meets each of these

requirements and should therefore be appointed Lead Plaintiff.

                1.       This Motion Is Timely

        The February 9, 2018 notice informed class members that the PSLRA’s 60-day deadline

to move for appointment as lead plaintiff was to expire on April 10, 2018 – sixty days from the



                                                  4
    Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 9 of 13 PageID #:291



date on which the notice was published. See Gilden Decl., Ex. C; 15 U.S.C. § 77z-1(a)(3)(A). Ms.

Godkin has submitted today a sworn certification confirming her willingness and ability to serve

as lead plaintiff. See Gilden Decl., Ex. A. Thus, Ms. Godkin has complied with the PSLRA’s

procedural requirements and is entitled to be considered for appointment as lead plaintiff.

               2.      Lynda Godkin Believes She Has the Largest Financial Interest of Any
                       Known Movant

       As of the time of the filing of this motion, Ms. Godkin believes that she has the largest

financial interest of any lead plaintiff movant. See 15 U.S.C. § 77z-1(a)(3)(B)(iii)(I)(bb). The

claims in the Related Actions are made on behalf of purchasers of Preservation Fund shares during

the Class Period who were injured because the price of those shares was inflated as a result of

Defendants’ alleged fraud and declined when the truth was revealed to the market. Lynda Godkin

purchased 20,199 LJM Preservation and Growth I shares during the Class Period, and thereby

sustained damages of approximately $188,000. See Loss Chart, Gilden Decl., Ex. B.

               3.      Lynda Godkin Satisfies the Requirements of Rule 23 at This Stage

       In addition to possessing the largest financial interest in the outcome of the litigation, to

benefit from a presumption that it is the most adequate plaintiff, a movant must also “otherwise

satisf[y] the requirements of Rule 23 of the Federal Rules of Civil Procedure.” 15 U.S.C. § 77z-

1(a)(3)(B)(iii)(I)(cc). Courts in this District have held that “[t]he initial Rule 23 analysis focuses

on ‘whether the movant has made a prima facie showing of typicality and adequacy’” and that the

court’s inquiry “‘need not be extensive.’” Bang v. Acura Pharm., Inc., No. 10 C 5757, 2011 WL

91099, at *3 (N.D. Ill. Jan. 11, 2011) (quoting In re Cendant Corp. Litig., 264 F.3d 201, 263 (3d

Cir. 2001)).

       The adequacy and typicality requirements “serve as guideposts for determining

whether . . . maintenance of a class action is economical and whether the named plaintiff’s claim



                                                  5
   Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 10 of 13 PageID #:292



and the class claims are so interrelated that the interests of the class members will be fairly and

adequately protected in their absence.” Amchem Prods. v. Windsor, 521 U.S. 591, 626 n.20 (1997)

(citation omitted). Typicality exists when the plaintiff’s claims arise from the same series of events

and are based on the same legal theories as the claims of all the class members. See Cendant, 264

F.3d at 264-65. In determining whether the movant satisfies the adequacy requirement, courts

consider whether the movant “has the ability and incentive to represent the claims of the class

vigorously, [whether the movant] has obtained adequate counsel, and [whether] there is [a] conflict

between [the movant’s] claims and those asserted on behalf of the class.” Id. (citation omitted).

       Ms. Godkin satisfies the typicality requirements of Rule 23 because her claim and the

claims of other class members arise out of the same series of events, including Defendants’ alleged

misstatements and omissions about the Preservation Fund’s capital preservation and risk

mitigation strategies, and involve similar questions of law, including Defendants’ liability under

the Securities Act. Like all class members, Ms. Godkin purchased LJM securities at allegedly

inflated prices, suffered financial losses as a result, and seeks to recover damages.

       Ms. Godkin satisfies the adequacy requirement of Rule 23 because she is incentivized by

her significant financial loss to vigorously prosecute the claims of the class, and she is not aware

of any conflicts between her claims and those asserted by the class. See Bang v. Acura Pharm.,

Inc., 2011 WL 91099, at *4. In addition, as discussed in the next section, Ms. Godkin has selected

qualified counsel experienced in securities litigation to represent the class. Accordingly, Ms.

Godkin respectfully requests that she be appointed Lead Plaintiff in the Related Actions.

       C.      The Court Should Approve Lynda Godkin’s Selection of Counsel

       The PSLRA vests authority in the lead plaintiff to select and retain lead counsel, subject to

this Court’s approval. See 15 U.S.C. § 77z-1(a)(3)(B)(v). This Court should not disturb the lead




                                                  6
   Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 11 of 13 PageID #:293



plaintiff’s choice of counsel unless it is necessary to “protect the interests of the class.” See 15

U.S.C. § 77z-1(a)(3)(B)(iii)(II)(aa).

       Ms. Godkin has selected Motley Rice as Lead Counsel for the class and Cohen Milstein as

Liaison Counsel for the class. Motley Rice has represented allegedly defrauded investors as lead

counsel in numerous securities class actions, and has a demonstrated history of success. See In re

Biogen, Inc., Case No. 16-12101-FDS, ECF No. 52 (D. Mass. Feb. 1, 2017) (approving lead

plaintiff’s choice of Motley Rice as lead counsel for the class and noting that “the firm has

successfully handled a number of shareholder and securities class actions”). Motley Rice’s

experience in the prosecution of securities class actions is derived from, among other things, its

service as co-lead counsel in Bennett v. Sprint Nextel Corp., No. 2:09-cv-02122-EFM-KMH, ECF

No. 23 (D. Kan. June 5, 2009). On August 12, 2015, the Sprint court approved a settlement of

$131 million for the class. Motley Rice also has served as sole lead counsel in In re Barrick Gold

Securities Litigation, No. 1:13-cv-03851-RPP, ECF No. 26 (S.D.N.Y. Aug. 9, 2013). The court

in that case approved a settlement of $140 million for the class on December 2, 2016. See Motley

Rice Firm Resume, Gilden Decl., Ex. D. Similarly, Cohen Milstein has significant experience in

securities litigation and class actions, having served as lead counsel and liaison counsel in

numerous federal securities cases. See Cohen Milstein Firm Resume, Gilden Decl., Ex. E.

       As a result of each firm’s extensive experience in litigation involving issues similar to those

raised in this action, Ms. Godkin’s counsel have the skill and knowledge necessary to prosecute

this action effectively and expeditiously. The Court may be assured that by approving Ms.

Godkin’s selection of Lead Counsel and Liaison Counsel, the members of the class will receive

the highest caliber of legal representation.




                                                 7
   Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 12 of 13 PageID #:294



IV.    CONCLUSION

       Based on the foregoing, Lynda Godkin respectfully requests that the Court consolidate the

Related Actions, appoint her Lead Plaintiff, approve her selection of counsel, and grant such other

relief as the Court may deem just and proper.



Dated: April 10, 2018                        Respectfully submitted,

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                                                8
   Case: 1:18-cv-01039 Document #: 54 Filed: 04/10/18 Page 13 of 13 PageID #:295



                                 CERTIFICATE OF SERVICE

       I, Carol V. Gilden, counsel for Lynda Godkin and Proposed Lead Counsel for the Class,

certify that on this 10th day of April, 2018, I electronically filed the foregoing using the Court’s

CM/ECF system, and a copy of this filing will be sent electronically to the registered participants

as identified on the Notice of Electronic Filing.



                                              /s/ Carol V. Gilden
                                              Carol V. Gilden




                                                    9
